Case 8-18-78265-reg Doc 17-4 Filed 01/15/19 Entered 01/15/19 15:40:05

AFFIDAVIT OF SERVICE BY FIRST CLASS MAIL

RE: Damianos Loizou and Karen S. Schmermund
a/k/a Karen S. Loiz_ou
Case No. 818-78265-A736

STATE OF NEW YORK )
) ss.:
COUNTY OF NAS SAU )

Jacqueline Sullivan, being duly sworn, deposes and says:

That l am not a party to this action, am over the age of 18 years, and reside in
Massapequa Parl<, New York.

That on the 15th day of January, 2019, I served the Within NOTICE OF
HEARING, APPLICATION, AFFIDA I/TT and ORDER upon the Off`lce of the United States
Trustee, the Debtor, Debtor’s counsel and all parties Who filed notice pursuant to Rule 2002 f the
Federal Rules of Bar)l<ruptcy Procedure at the following address by depositing a true copy of the
same enclosed in a post~paid, properly addressed envelope in an official depository under the
exclusive care and oustody of the United States Post Offlee Within the State of NeW York.

SEE ATTACHED SER VICE LIST

 

 

SWorn to before me this
lStli/day of January, 2019.

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OTARY PUBLIC

Franc:es Ail:)erti
Notary Pub[ie, State of New York

Registration_ #OiALBi 06?03
Qualif'ieci in Nassau Couniy@§_£/)
Commission Expires Mareh 15, 2

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Office of the United States Trustee
Alfonse M. D’Arnato Coulthouse
560 Federal Plaza

Central lslip, NY 11722

Darnianos Loizou
227 Beverly Road
Huntington Station, NY 11746

Karen S. Schmermund-Loizou
227 Beverly Road
I-Iuntington Station, NY 11746

LaW Offioes of Adam C. Gornerman
Attorneys for Debtor

807 East Jericho Turnpike
Huntington Station, NY l 1746
Atl;n: Adam C. Gornerrnan, Esq.

Jaspan Schlesinger LLP

Attorneys for Bridgehampton National Bank,
successor by merger to Cornmunity National Banl<
300 Garden City Plaza

Garden City, NY l 1530

Attn: Antoriia M. Donohue, Esq.

Kozeny & McCubbin, L.C. LLC

Attorneys for Specialized Loan Servicing, LLC
12400 Olive Boulevard, Suite 555

St. Louis, MO 63141

Attn: Sabita Hajaree Ramsaran, Esq.

